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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

CASA, INC.,
Plaintiff,
v.

KRISTI NOEM,

in her official capacity as

Secretary of Homeland Security, and
U.S. DEPARTMENT OF
HOMELAND SECURITY,

Civil Action No. 25-1484-TDC

Defendants.

ORDER

For the reasons stated during the May 27, 2025 Case Management Conference, it is hereby
ORDERED that:

1. Defendants are granted leave to file the Cross Motion for Partial Summary Judgment
and Motion to Dismiss proposed in ECF No. 44. The briefing on the Motions shall be
combined with Defendants’ memorandum in opposition to Plaintiff's Motion for
Partial Summary Judgment or Stay of Agency Action, ECF No. 42, in a single brief
and shall be filed by Tuesday, June 3, 2025.

2. By agreement, Defendants shall defer asserting the argument seeking dismissal of
Count 5 of the Amended Complaint on the merits. The Court will grant Defendants
leave to assert that argument at a later date.

3. Defendants should include in their submission the administrative record of the

determination as to the Temporary Protected Status designation of Afghanistan and are
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specifically directed that they must include, at a minimum, the final decision document
by the Secretary or other agency official relating to that determination.

4. Plaintiff shall file its memorandum in opposition to Defendants’ Motions and reply
brief on Plaintiff's Motion as one brief, which will be deemed timely if filed by
Tuesday, June 10, 2025.

5. Defendants’ reply brief is due by Friday, June 13, 2025.

6. Each party’s briefing on the Motions shall not exceed a combined 50 pages.

Date: May of. 2025

THEODORE D. CHU
United States District J

